     Case: 1:16-cv-02622 Document #: 25 Filed: 07/28/16 Page 1 of 1 PageID #:242

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                 Eastern Division

Matthew Kaufrinder, et al.
                                       Plaintiff,
v.                                                       Case No.: 1:16−cv−02622
                                                         Honorable Elaine E. Bucklo
Anselmo Lindberg Oliver LLC
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 28, 2016:


       MINUTE entry before the Honorable Elaine E. Bucklo: Pursuant to the stipulation
agreed on by the parties, Plaintiffs' Motion to certify class [5] is withdrawn without
prejudice. Status hearing reset from 7/29/2016 to 10/21/2016 at 9:30 AM. Mailed notice
(jdh)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
